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                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK


Consumer Financial Protection Bureau,
              Plaintiff,                            Case No. 1:22-cv-8308-JPC
               v.
MoneyLion Technologies Inc., et al.,                STIPULATION AND ORDER FOR
                                                    FILING OF FIRST AMENDED
              Defendants.                           COMPLAINT; SETTING MOTION
                                                    TO DISMISS BRIEFING SCHEDULE
                                                    AND PAGE LIMITATIONS

      Consumer Financial Protection Bureau (“Plaintiff”) and all named defendants

(“MoneyLion” and collectively, the “Parties”) stipulate as follows with respect to

Plaintiff’s request for MoneyLion’s consent to Plaintiff filing a proposed First

Amended Complaint. See Fed. R. Civ. P. 15(a)(2).

      1.       Plaintiff filed a Complaint against MoneyLion on September 29, 2022.

ECF 1.

      2.       In response, MoneyLion filed a pre-motion letter requesting leave to

file a motion to dismiss pursuant to the Court’s Individual Rules and Practices in

Civil Cases. ECF 49. Following briefing on the pre-motion letter, the Court granted

leave to file a motion to dismiss. ECF 50.

      3.       On December 23, 2022, the Court granted MoneyLion’s motion for

leave to file excess pages in connection with the motion to dismiss, which resulted
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in a 35-page limit on the opening brief, a 35-page limit on the opposition brief, and

a 15-page limit on the reply brief. ECF 55.

         4.        MoneyLion’s motion to dismiss was fully briefed on March 7, 2023.

         5.        On May 21, 2023, Plaintiff requested MoneyLion’s consent to file a

First Amended Complaint. MoneyLion intends to file a motion to dismiss the

proposed First Amended Complaint. MoneyLion is prepared to consent to Plaintiff’s

filing, however, provided the Parties also agree to procedural matters pertaining to

scheduling and briefing length consistent with the prior motion to dismiss.

         6.        As a result, the Parties stipulate as follows, subject to the Court’s

approval:

                   a. Plaintiff may file a First Amended Complaint, a copy of which is

                       attached hereto.

                   b. MoneyLion acknowledges service of the First Amended Complaint

                       as of the date of this Stipulation and waives any further service of

                       the First Amended Complaint.

                   c. MoneyLion will file a motion to dismiss the First Amended

                       Complaint, with the following briefing schedule:

                             i.    MoneyLion shall file its motion to dismiss on or before July

                                   11, 2023. MoneyLion is not required to submit a pre-motion


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                                   letter under Rule 6.A of the Court’s Individual Rules and

                                   Practices;

                            ii.    Plaintiff shall submit its opposition on or before August 18,

                                   2023; and

                           iii.    MoneyLion shall submit its reply on or before September 8,

                                   2023.

                   d. The enlarged page limitations, which the Court set in relation to

                       MoneyLion’s original motion to dismiss (ECF 55), shall apply to

                       MoneyLion’s motion to dismiss the First Amended Complaint.

IT IS SO STIPULATED.


Respectfully submitted,
DATE: June 9, 2023                             By:/s/ Maxwell Peltz
                                               Maxwell S. Peltz
                                               Attorney for Plaintiff Consumer Financial
                                               Protection Bureau

DATE: June 9, 2023                             By:/s/ David Gettings
                                               David Gettings
                                               TROUTMAN PEPPER HAMILTON SANDERS LLP
                                               Attorneys for Defendants

SO ORDERED:

DATE: June 13, 2023                                 _________
      New York, New York HONORABLE JOHN P. CRONAN
                         UNITED STATES DISTRICT JUDGE

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